                    Case 18-11123-M Document 1 Filed in USBC ND/OK on 06/01/18 Page 1 of 52                                                      6/01/18 4:02PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF OKLAHOMA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Nichols Brothers, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  823 S. Detroit Ave, Suite 300                                   P.O. Box 4470
                                  Tulsa, OK 74120                                                 Tulsa, OK 74159
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Tulsa                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
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Debtor    Nichols Brothers, Inc.                                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2111

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Nichols Brothers, Inc.                                                                    Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 3
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Debtor    Nichols Brothers, Inc.                                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 1, 2018
                                                  MM / DD / YYYY


                             X   /s/ Richard Nichols                                                      Richard Nichols
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Gary M. McDonald                                                      Date June 1, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Gary M. McDonald 5960
                                 Printed name

                                 McDonald | McCann | Metcalf
                                 Firm name

                                 15 E. Fifth Street, Suite 1400
                                 Tulsa, OK 74103
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     918.430.3700                  Email address      gmcdonald@mmmsk.com

                                 5960
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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Debtor     Nichols Brothers, Inc.                                                           Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF OKLAHOMA

Case number (if known)                                                   Chapter     11
                                                                                                                        Check if this an
                                                                                                                        amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Cano Petro of New Mexico, Inc.                                          Relationship to you               Same/Similar Ownership
District   Northern District of Oklahoma              When                         Case number, if known
Debtor     Ladder Companies, Inc.                                                  Relationship to you               Same/Similar Ownership
District   Northern District of Oklahoma              When                         Case number, if known
Debtor     NBI Properties, Inc.                                                    Relationship to you               Same/Similar Ownership
District   Northern District of Oklahoma              When                         Case number, if known
Debtor     NBI Services, Inc.                                                      Relationship to you               Same/Similar Ownership
District   Northern District of Oklahoma              When                         Case number, if known
Debtor     Red Water Resources, Inc.                                               Relationship to you               Same/Similar Ownership
District   Northern District of Oklahoma              When                         Case number, if known
Debtor     WO Operating Company, LTD                                               Relationship to you               Same/Similar Ownership
District   Northern District of Oklahoma              When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 5
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 Fill in this information to identify the case:

 Debtor name         Nichols Brothers, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration               Official Creditor List/Matrix

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 1, 2018                            X /s/ Richard Nichols
                                                                       Signature of individual signing on behalf of debtor

                                                                       Richard Nichols
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Nichols Brothers, Inc.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                OKLAHOMA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ABRAHAM TIM                     Brent Blackstock                Lawsuit                                                                                                  $26,000.00
 c/o R. BRENT
 BLACKSTOCK
 401 S. Boston Ave               918-607-1233
 Fifth Floor
 TULSA, OK 74103
 AFCO                            Thesha Anson                    Insurance                                                                                                $39,310.00
 DEPT 0809                                                       Financing
 PO BOx 120809
 DALLAS, TX                      800-288-6901
 75312-0809
 CROWE &                         Jill Hairston                   Legal Services                                                                                           $50,610.00
 DUNLEVY
 321 S. BOSTON,
 SUITE 500                       918-592-9833
 TULSA, OK
 74103-3313
 DISPUTE                         Joe Paulk                       Materials and                                                                                              $1,226.00
 RESOLUTION                                                      Services
 CONSULTANTS
 1602 S MAIN                     918-382-0300
 TULSA, OK 74119
 E.B. ARCHBALD &                 Brenda Williams                 Materials and                                                                                            $31,110.00
 ASSOC. INC.                                                     Services
 205 NW 63RD
 STREET                          405-840-4411
 OKLAHOMA CITY,
 OK 73116
 FITZGERALD                      Clifford Fitzgerald             Miscellaneous                                                                                            $18,318.00
 ALEXANDER
 2141 NORLOCK
 LAND                            918-388-4734
 DALLAS, TX 75201




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Nichols Brothers, Inc.                                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 FITZGERALD                      Clifford Fitzgerald             Miscellaneous                                                                                            $62,080.00
 CLIFFORD &
 JUANITA
 7400 AVERDEEN                   918-388-4734
 PARKWAY W
 TULSA, OK 74132
 FITZGERALD ED                   Clifford Fitzgerald             Miscellaneous                                                                                            $30,986.00
 29414 E. 160TH ST.
 S
 COWETA, OK 74429                918-388-4734
 FITZGERALD,                     Clifford Fitzgerald             Miscellaneous                                                                                            $18,318.00
 RACHEL
 2141 NORLOCK
 LAND                            918-388-4734
 DALLAS, TX 75201
 GABLE GOTWALS                   Barbara                         Legal Services                                                                                           $18,440.00
 COUNSEL                         Moschovidis
 1100ONEOK PLAZA,
 100 WEST
 TULSA, OK                       918-595-4800
 74103-4217
 HARRY                           Harry Dandelles                 Pension                                                                                                  $50,000.00
 DANDELLES
 2112 E. 60TH
 STREET                          918-633-9567
 TULSA, OK 74105
 HOGAN TAYLOR                    Will Gilliam                    Materials and                                                                                            $56,520.00
 LLP                                                             Services
 PO BOX 1481
 LOWELL, AR 72745                918-745-2333
 LATHROP & GAGE                  Dianna Smith                    Legal Services                                                                                           $56,615.00
 LLP
 2345 GRAND
 BOULEVARD                       816-292-2000
 KANSAS CITY, MI
 64108-2618
 MARTIN ALAN                     Jason Glass                     Miscellaneous                                                                                          $700,000.00
 c/o Jason Glass
 401 S. Boston Ave,
 Suite 2300                      918-938-7944
 TULSA, OK 74103
 MIDFIRST BANK,                  Mark Houts                      Lawsuit                                                                                                  $35,000.00
 TRUSTEE OF TH
 3847 S BOULEVARD
 SUITE 100                       405-971-4029
 EDMOND, OK 73013
 OKLAHOMA STATE                  Annette Morey                   Materials and                                                                                              $3,780.00
 UNIVERSITY                                                      Services
 215 BUSINESS
 BUILDING                        918-594-8291
 STILLWATER, OK
 74078-4014


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Nichols Brothers, Inc.                                                                             Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 POPE TERESA                     Clifford Fitzgerald             Miscellaneous                                                                                            $30,986.00
 10931 S. 86TH AVE.
 TULSA, OK 74133
                                 918-388-4734
 TULSA DATA                      Chris Adams                     Materials and                                                                                              $8,778.00
 CENTER LLC                                                      Services
 2448 E. 81ST ST.
 SUITE 280                       918-237-4400
 TULSA, OK 74137
 VEREBELYI JOE                   John Anderson                   Miscellaneous                                                                                          $243,800.00
 c/o John Anderson
 4444 East 66th
 Street, Suite 102               918-747-0060
 TULSA, OK
 74136-4205
 ZURICH NORTH                                                    Insurance                                                                                                    $953.00
 AMERICA
 8734 PAYSPHERE                  800-693-9466
 CIRCLE
 CHICAGO, IL 60674




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            Nichols Brothers, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            10,388.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            10,388.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       29,987,695.09


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            50,000.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        2,833,939.36


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         32,871,634.45




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Nichols Brothers, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                     Current value of
                                                                                                                         debtor's interest

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment
                    Pre-Paid Business Insurance
           8.1.     Insurica Management Network                                                                                       $10,388.00




 9.        Total of Part 2.                                                                                                       $10,388.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 1
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 Debtor         Nichols Brothers, Inc.                                                       Case number (If known)
                Name

                                                                                                     Valuation method used   Current value of
                                                                                                     for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                     NBI Services, Inc.
           15.1.     [filing for Chapter 11 along with Debtor]                      100       %      Market                              Unknown



                     NBI Properties, Inc.
           15.2.     [filing for Chapter 11 along with Debtor]                      100       %      Market                              Unknown




           15.3.     The Nichols Companies                                          100       %      Market                              Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                               $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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 Debtor         Nichols Brothers, Inc.                                                       Case number (If known)
                Name




 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                  page 3
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 Debtor          Nichols Brothers, Inc.                                                                              Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $10,388.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $10,388.00          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $10,388.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 4
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 Fill in this information to identify the case:

 Debtor name         Nichols Brothers, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Arena Limited SPV, LLC                         Describe debtor's property that is subject to a lien               $8,996,308.53                  Unknown
       Creditor's Name                                Oil & Gas Assets held by Co-Debtors
       405 Lexington Ave
       New York, NY 10174
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   CrossFirst Bank                                Describe debtor's property that is subject to a lien             $11,995,078.01                   Unknown
       Creditor's Name                                Oil & Gas Assets held by Co-Debtors
       7120 S. Lewis
       Tulsa, OK 74136
       Creditor's mailing address                     Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       12/18/2014                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1907
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       Nichols Brothers, Inc.                                                                   Case number (if know)
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.3    Kirkpatrick Bank                              Describe debtor's property that is subject to a lien                 $5,997,539.03              Unknown
        Creditor's Name                               Oil & Gas Assets held by Co-Debtors
        222 NW 63rd Street
        Oklahoma City, OK 73116
        Creditor's mailing address                    Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.4    Valley National Bank                          Describe debtor's property that is subject to a lien                 $2,998,769.52              Unknown
        Creditor's Name                               Oil & Gas Assets held by Co-Debtors
        2020 E. 21st Street
        Tulsa, OK 74114
        Creditor's mailing address                    Describe the lien
                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                               $29,987,695.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        09

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity


Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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                Case 18-11123-M Document 1 Filed in USBC ND/OK on 06/01/18 Page 17 of 52                                                                                   6/01/18 4:02PM


 Fill in this information to identify the case:

 Debtor name         Nichols Brothers, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                                            Check if this is an
                                                                                                                                                            amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                           12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $50,000.00         $50,000.00
           HARRY DANDELLES                                           Check all that apply.
           2112 E. 60TH STREET                                          Contingent
           TULSA, OK 74105                                              Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           08/01/17                                                  Pension

           Last 4 digits of account number N100                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                   $26,000.00
           ABRAHAM TIM
           c/o R. BRENT BLACKSTOCK                                                     Contingent
           401 S. Boston Ave                                                           Unliquidated
           Fifth Floor                                                                 Disputed
           TULSA, OK 74103
                                                                                   Basis for the claim:     Lawsuit
           Date(s) debt was incurred 04/12/18
           Last 4 digits of account number R100                                    Is the claim subject to offset?           No   Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                   $39,310.00
           AFCO                                                                        Contingent
           DEPT 0809                                                                   Unliquidated
           PO BOx 120809                                                               Disputed
           DALLAS, TX 75312-0809
                                                                                   Basis for the claim:     Insurance Financing
           Date(s) debt was incurred 03/01/18
           Last 4 digits of account number C100                                    Is the claim subject to offset?           No   Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                              page 1 of 5
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 Debtor       Nichols Brothers, Inc.                                                                  Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $50,610.00
          CROWE & DUNLEVY                                                       Contingent
          321 S. BOSTON, SUITE 500                                              Unliquidated
          TULSA, OK 74103-3313                                                  Disputed
          Date(s) debt was incurred 12/31/17
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number O100
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,226.00
          DISPUTE RESOLUTION CONSULTANTS                                        Contingent
          1602 S MAIN                                                           Unliquidated
          TULSA, OK 74119                                                       Disputed
          Date(s) debt was incurred 12/21/17
                                                                             Basis for the claim:    Materials and Services
          Last 4 digits of account number S100
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $31,110.00
          E.B. ARCHBALD & ASSOC. INC.                                           Contingent
          205 NW 63RD STREET                                                    Unliquidated
          OKLAHOMA CITY, OK 73116                                               Disputed
          Date(s) debt was incurred 01/04/17
                                                                             Basis for the claim:    Materials and Services
          Last 4 digits of account number A100
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,318.00
          FITZGERALD ALEXANDER                                                  Contingent
          2141 NORLOCK LAND                                                     Unliquidated
          DALLAS, TX 75201                                                      Disputed
          Date(s) debt was incurred 03/20/17
                                                                             Basis for the claim:    Miscellaneous
          Last 4 digits of account number T550
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $62,080.00
          FITZGERALD CLIFFORD & JUANITA                                         Contingent
          7400 AVERDEEN PARKWAY W                                               Unliquidated
          TULSA, OK 74132                                                       Disputed
          Date(s) debt was incurred 03/20/17
                                                                             Basis for the claim:    Miscellaneous
          Last 4 digits of account number T600
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,986.00
          FITZGERALD ED                                                         Contingent
          29414 E. 160TH ST. S                                                  Unliquidated
          COWETA, OK 74429                                                      Disputed
          Date(s) debt was incurred 03/20/17
                                                                             Basis for the claim:    Miscellaneous
          Last 4 digits of account number T500
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,318.00
          FITZGERALD, RACHEL                                                    Contingent
          2141 NORLOCK LAND                                                     Unliquidated
          DALLAS, TX 75201                                                      Disputed
          Date(s) debt was incurred 03/20/17
                                                                             Basis for the claim:    Miscellaneous
          Last 4 digits of account number T555
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 5
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 Debtor       Nichols Brothers, Inc.                                                                  Case number (if known)
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,440.00
          GABLE GOTWALS COUNSEL                                                 Contingent
          1100ONEOK PLAZA, 100 WEST                                             Unliquidated
          TULSA, OK 74103-4217                                                  Disputed
          Date(s) debt was incurred 02/06/17
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number B100
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $56,520.00
          HOGAN TAYLOR LLP                                                      Contingent
          PO BOX 1481                                                           Unliquidated
          LOWELL, AR 72745                                                      Disputed
          Date(s) debt was incurred 10/31/16
                                                                             Basis for the claim:    Materials and Services
          Last 4 digits of account number G100
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $56,615.00
          LATHROP & GAGE LLP                                                    Contingent
          2345 GRAND BOULEVARD                                                  Unliquidated
          KANSAS CITY, MI 64108-2618                                            Disputed
          Date(s) debt was incurred 06/05/16
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number T500
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10.00
          LIKES MERRILL                                                         Contingent
          PO BOX 2696                                                           Unliquidated
          EDMOND, OK 73083                                                      Disputed
          Date(s) debt was incurred  04/12/18                                Basis for the claim:    Miscellaneous
          Last 4 digits of account number K100
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $700,000.00
          MARTIN ALAN                                                           Contingent
          c/o Jason Glass                                                       Unliquidated
          401 S. Boston Ave, Suite 2300                                         Disputed
          TULSA, OK 74103
                                                                             Basis for the claim:    Miscellaneous
          Date(s) debt was incurred 04/12/18
          Last 4 digits of account number R650                               Is the claim subject to offset?     No       Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,000.00
          MIDFIRST BANK, TRUSTEE OF TH                                          Contingent
          3847 S BOULEVARD SUITE 100                                            Unliquidated
          EDMOND, OK 73013                                                      Disputed
          Date(s) debt was incurred 04/13/18
                                                                             Basis for the claim:    Lawsuit
          Last 4 digits of account number D800
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,780.00
          OKLAHOMA STATE UNIVERSITY                                             Contingent
          215 BUSINESS BUILDING                                                 Unliquidated
          STILLWATER, OK 74078-4014                                             Disputed
          Date(s) debt was incurred 10/30/16
                                                                             Basis for the claim:    Materials and Services
          Last 4 digits of account number L450
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 5
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 Debtor       Nichols Brothers, Inc.                                                                  Case number (if known)
              Name

 3.17      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $65,243.39
           Orville B. Nichols                                                   Contingent
           823 S. Detroit, Suite 300                                            Unliquidated
           Tulsa, OK 74120                                                      Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Shareholder Loan
           Last 4 digits of account number      0200
                                                                             Is the claim subject to offset?     No       Yes

 3.18      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $30,986.00
           POPE TERESA                                                          Contingent
           10931 S. 86TH AVE.                                                   Unliquidated
           TULSA, OK 74133                                                      Disputed
           Date(s) debt was incurred  03/20/17                               Basis for the claim:    Miscellaneous
           Last 4 digits of account number P500
                                                                             Is the claim subject to offset?     No       Yes

 3.19      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.        $1,335,855.97
           Richard J. Nichols                                                   Contingent
           823 S. Detroit, Suite 300                                            Unliquidated
           Tulsa, OK 74120                                                      Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Shareholder Loan
           Last 4 digits of account number      0300
                                                                             Is the claim subject to offset?     No       Yes

 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $8,778.00
           TULSA DATA CENTER LLC                                                Contingent
           2448 E. 81ST ST. SUITE 280                                           Unliquidated
           TULSA, OK 74137                                                      Disputed
           Date(s) debt was incurred 08/01/17
                                                                             Basis for the claim:    Materials and Services
           Last 4 digits of account number L455
                                                                             Is the claim subject to offset?     No       Yes

 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           U.S. SPECIALTY INSURANCE BONDS                                       Contingent
           8350 N. CENTRAL EXPRESSWAY                                           Unliquidated
           DALLAS, TX 75206                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Bonds/Legal Action
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $243,800.00
           VEREBELYI JOE                                                        Contingent
           c/o John Anderson                                                    Unliquidated
           4444 East 66th Street, Suite 102                                     Disputed
           TULSA, OK 74136-4205
                                                                             Basis for the claim:    Miscellaneous
           Date(s) debt was incurred 08/23/17
           Last 4 digits of account number R100                              Is the claim subject to offset?     No       Yes


 3.23      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $953.00
           ZURICH NORTH AMERICA                                                 Contingent
           8734 PAYSPHERE CIRCLE                                                Unliquidated
           CHICAGO, IL 60674                                                    Disputed
           Date(s) debt was incurred 12/30/17
                                                                             Basis for the claim:    Insurance
           Last 4 digits of account number R100
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 5
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 Debtor       Nichols Brothers, Inc.                                                              Case number (if known)
              Name

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                 related creditor (if any) listed?               account number, if
                                                                                                                                                 any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                     50,000.00
 5b. Total claims from Part 2                                                                       5b.   +   $                  2,833,939.36

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                     2,883,939.36




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 5 of 5
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 Fill in this information to identify the case:

 Debtor name         Nichols Brothers, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Nichols Brothers, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Cano Petro of                     P.O. Box 4470                                     Arena Limited SPV,                 D   2.1
             New Mexico, Inc.                  Tulsa, OK 74159                                   LLC                                E/F
                                                                                                                                    G




    2.2      Cano Petro of                     P.O. Box 4470                                     CrossFirst Bank                    D   2.2
             New Mexico, Inc.                  Tulsa, OK 74159                                                                      E/F
                                                                                                                                    G




    2.3      Cano Petro of                     P.O. Box 4470                                     Kirkpatrick Bank                   D   2.3
             New Mexico, Inc.                  Tulsa, OK 74159                                                                      E/F
                                                                                                                                    G




    2.4      Cano Petro of                     P.O. Box 4470                                     Valley National Bank               D   2.4
             New Mexico, Inc.                  Tulsa, OK 74159                                                                      E/F
                                                                                                                                    G




    2.5      Cano Petro of                     P.O. Box 4470                                     U.S. SPECIALTY                     D
             New Mexico, Inc.                  Tulsa, OK 74159                                   INSURANCE BONDS                    E/F       3.21
                                                                                                                                    G




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 Debtor       Nichols Brothers, Inc.                                                Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Ladder                            P.O. Box 4470                             Arena Limited SPV,                 D   2.1
             Companies, Inc.                   Tulsa, OK 74159                           LLC                                E/F
                                                                                                                            G




    2.7      Ladder                            P.O. Box 4470                             CrossFirst Bank                    D   2.2
             Companies, Inc.                   Tulsa, OK 74159                                                              E/F
                                                                                                                            G




    2.8      Ladder                            P.O. Box 4470                             Kirkpatrick Bank                   D   2.3
             Companies, Inc.                   Tulsa, OK 74159                                                              E/F
                                                                                                                            G




    2.9      Ladder                            P.O. Box 4470                             Valley National Bank               D   2.4
             Companies, Inc.                   Tulsa, OK 74159                                                              E/F
                                                                                                                            G




    2.10     Ladder                            P.O. Box 4470                             U.S. SPECIALTY                     D
             Companies, Inc.                   Tulsa, OK 74159                           INSURANCE BONDS                    E/F       3.21
                                                                                                                            G




    2.11     NBI Properties,                   P.O. Box 4470                             Arena Limited SPV,                 D   2.1
             Inc.                              Tulsa, OK 74159                           LLC                                E/F
                                                                                                                            G




    2.12     NBI Properties,                   P.O. Box 4470                             CrossFirst Bank                    D   2.2
             Inc.                              Tulsa, OK 74159                                                              E/F
                                                                                                                            G




    2.13     NBI Properties,                   P.O. Box 4470                             Kirkpatrick Bank                   D   2.3
             Inc.                              Tulsa, OK 74159                                                              E/F
                                                                                                                            G




Official Form 206H                                                   Schedule H: Your Codebtors                                       Page 2 of 4
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 Debtor       Nichols Brothers, Inc.                                                Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     NBI Properties,                   P.O. Box 4470                             Valley National Bank               D   2.4
             Inc.                              Tulsa, OK 74159                                                              E/F
                                                                                                                            G




    2.15     NBI Properties,                   P.O. Box 4470                             U.S. SPECIALTY                     D
             Inc.                              Tulsa, OK 74159                           INSURANCE BONDS                    E/F       3.21
                                                                                                                            G




    2.16     NBI Services,                     P.O. Box 4470                             Arena Limited SPV,                 D   2.1
             Inc.                              Tulsa, OK 74159                           LLC                                E/F
                                                                                                                            G




    2.17     NBI Services,                     P.O. Box 4470                             CrossFirst Bank                    D   2.2
             Inc.                              Tulsa, OK 74159                                                              E/F
                                                                                                                            G




    2.18     NBI Services,                     P.O. Box 4470                             Kirkpatrick Bank                   D   2.3
             Inc.                              Tulsa, OK 74159                                                              E/F
                                                                                                                            G




    2.19     NBI Services,                     P.O. Box 4470                             Valley National Bank               D   2.4
             Inc.                              Tulsa, OK 74159                                                              E/F
                                                                                                                            G




    2.20     NBI Services,                     P.O. Box 4470                             U.S. SPECIALTY                     D
             Inc.                              Tulsa, OK 74159                           INSURANCE BONDS                    E/F       3.21
                                                                                                                            G




    2.21     Red Water                         P.O. Box 4470                             Arena Limited SPV,                 D   2.1
             Resources, Inc.                   Tulsa, OK 74159                           LLC                                E/F
                                                                                                                            G




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 Debtor       Nichols Brothers, Inc.                                                Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.22     Red Water                         P.O. Box 4470                             CrossFirst Bank                    D   2.2
             Resources, Inc.                   Tulsa, OK 74159                                                              E/F
                                                                                                                            G




    2.23     Red Water                         P.O. Box 4470                             Kirkpatrick Bank                   D   2.3
             Resources, Inc.                   Tulsa, OK 74159                                                              E/F
                                                                                                                            G




    2.24     Red Water                         P.O. Box 4470                             Valley National Bank               D   2.4
             Resources, Inc.                   Tulsa, OK 74159                                                              E/F
                                                                                                                            G




    2.25     WO Operating                      P.O. Box 4470                             Arena Limited SPV,                 D   2.1
             Company, LTD                      Tulsa, OK 74159                           LLC                                E/F
                                                                                                                            G




    2.26     WO Operating                      P.O. Box 4470                             CrossFirst Bank                    D   2.2
             Company, LTD                      Tulsa, OK 74159                                                              E/F
                                                                                                                            G




    2.27     WO Operating                      P.O. Box 4470                             Kirkpatrick Bank                   D   2.3
             Company, LTD                      Tulsa, OK 74159                                                              E/F
                                                                                                                            G




    2.28     WO Operating                      P.O. Box 4470                             Valley National Bank               D   2.4
             Company, LTD                      Tulsa, OK 74159                                                              E/F
                                                                                                                            G




    2.29     WO Operating                      P.O. Box 4470                             U.S. SPECIALTY                     D
             Company, LTD                      Tulsa, OK 74159                           INSURANCE BONDS                    E/F       3.21
                                                                                                                            G




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 Fill in this information to identify the case:

 Debtor name         Nichols Brothers, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                          $0.00
       From 1/01/2018 to Filing Date
                                                                                                   Other    Other


       For prior year:                                                                             Operating a business                                          $0.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other    Other


       For year before that:                                                                       Operating a business                                          $0.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other    Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       Nichols Brothers, Inc.                                                                    Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               SEE ATTACHED EXHIBIT 2                                                                              $0.00              Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    SEE ATTACHED EXHIBIT 3                                                                              $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    SEE ATTACHED EXHIBIT 1                                                                                                      Pending
                                                                                                                                           On appeal
                                                                                                                                           Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

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 Debtor      Nichols Brothers, Inc.                                                                         Case number (if known)




9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                        Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates               Total amount or
                the transfer?                                                                                                                               value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers           Total amount or
                                                                                                                         were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                     Date transfer          Total amount or
               Address                                           payments received or debts paid in exchange                was made                        value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                      Dates of occupancy
                                                                                                                             From-To

 Part 8:      Health Care Bankruptcies
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 Debtor      Nichols Brothers, Inc.                                                                     Case number (if known)




15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
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 Debtor      Nichols Brothers, Inc.                                                                     Case number (if known)



    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    NBI Services, Inc.                               NBI Services, Inc. is a wholly                   EIN:         XX-XXXXXXX
             823 S. Detroit, Suite 300                        owned subsidiary of Debtor
             Tulsa, OK 74120                                                                                   From-To      06/07/1984 - Current

    25.2.    NBI Properties, Inc.                             NBI Properties, Inc. is a wholly                 EIN:         XX-XXXXXXX
             823 S. Detroit, Suite 300                        owned subsidiary of Debtor
             Tulsa, OK 74120                                                                                   From-To      12/23/1996 - Current




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 Debtor      Nichols Brothers, Inc.                                                                     Case number (if known)



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.3.    The Nichols Companies                            The Nichols Companies is a                       EIN:         XX-XXXXXXX
             823 S. Detroit, Suite 300                        wholly owned subsidiary of Debtor
             Tulsa, OK 74120                                                                                   From-To      12/08/2006 - Current


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Phillip Burch                                                                                                              Previous 2 Years
                    P.O. Box 4470                                                                                                              [Minumum]
                    Tulsa, OK 74159

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       CrossFirst Bank
                    7120 S. Lewis
                    Tulsa, OK 74136

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory         The dollar amount and basis (cost, market,
                inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Richard J. Nichols                             P.O. Box 4470                                       Director; President                           50%
                                                      Tulsa, OK 74159

       Name                                           Address                                             Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Orville B. Nichols                             P.O. Box 4470                                       Director; Secretary and Vice                  50%
                                                      Tulsa, OK 74159                                     President


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 Debtor      Nichols Brothers, Inc.                                                                     Case number (if known)



       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Phillip Burch                                  P.O. Box 4470                                       Chief Financial Officer
                                                      Tulsa, OK 74159

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Mark Jackson                                   P.O. Box 4470                                       Chief Restructuring Officer
                                                      Tulsa, OK 74159



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Nichols Brothers, Inc.                                                                                     EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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 Debtor      Nichols Brothers, Inc.                                                                     Case number (if known)



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 1, 2018

 /s/ Richard Nichols                                                    Richard Nichols
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 8
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         EXHIBIT 1 TO FORM 207/STATEMENT OF FINANCIAL AFFAIRS
          Legal Actions/Administrative Proceedings/Court Actions/Etc.



    Case Style (Defendant)          Court Venue           Case Number       Date Opened         Claim Exposure

                                                                                                (I) Trespass, (2)
                                                                                               Breach of Contract,
                                                                                                (3) Negligence,
Lorance v. Red Water Resources                                              Filed: 3/1 Oil 4      (4) Nuisance
& Robe11 McKenzie                  Bowie Co. TX            I 4C025 5-102   Served: 3/21114         >$1,000,000


                                                                                                  Breach of
                                                                       Filed: 10/!6/!5          PSA/Promissory
Martin v. Nichols Brothers         Tulsa Co., OK         CJ-2015-03838 Served: 11/9/15          Note - $700,000



                                                                                                 $16,461,77 for
                                                                                                   production
                                                                            Filed: 2/22/16       $6,397.75 for
Abraham v. Pacer, et al.           Creek Co., OK            CJ-2016-57     Served: 2/29/16           interest

                                                                            Filed: 9/19/16       Nicolai Lease
Nicolai v. NBI Services            Blaine Co., OK           CJ-2016-36     Served: 2/27/17       Cancellation



                                                                           Filed: 2/28/17        Nicolai Lease
Core Resources v. NBI              Blaine Co., OK          CV-2017-24      Served: 3/6/17        Cancellation




                                                                        Filed: 4/12/17         Breach of Contract
Likes v. Peak Methods              Tulsa Co .. OK        CJ-2017-01416 Served: 5/10/17             $180 000
                                                     CV-2018-23             Filed: 2/21/18
                                                    old CV-2017-                Served
Ravdon Exploration v. NB!        Kingfisher Co., OK      49                    3/14/18         Lease Cancellation


High Pointe Energy v. NB!                                                   Filed: 5/1/17
2017-52)                         Kint1:fisher Co., OK      CV-2017-52      Served: 5/5/17      Lease Cancellation


HighPointe Energy v. NB!                                                    Filed: 5/10/15
2017-60)                         Kinufisher Co., OK        CV-2017-60      Served; 5/\2/17     Lease Cancellation



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           Legal Actions/Administrative Proceedings/Court Actions/Etc.



    Case Style (Defendant)         Court Venue          Case Number      Date Opened          Claim Exposure


 High Pointe Energy v. NB!                                               Filed 6/!3/! 7
1(2017-74)                      Kinufisher Co., OK        CV-2017-74   Served 6/6/19/ l 7    Lease Cancellation


Black Acre Minerals v. NBJ                                                Filed 6/2/17
Services, Inc.                  Kingfisher Co. OK         CV-2017-68     Served 6/7/17       Lease Cancellation

Continental Resources v NBl                                          Filed 11/7/17;         Breach of
Services                       Oklahoma Co, OK         CJ- 2017-6367 Served 11 /l 0/1 7     Aureement

Traynor Oil & Gas Inc. v Daleo                                         Filed 11-13-17;
Petroleum                       Kingfisher County      CV-2017- 78     Served l l-21-17     Lease Cancellation
US Specialty Insurance
Company v Cano Petroleum,
Inc., Square One Energy, Inc.,
WO Operating Company, Ltd,
Ladder Companies, Inc., NBl
Services, Inc., NBI Properties,
Inc. Nichols Brothers, Inc.,                           2017-
Cano Petroleum of New                                  65145/Court
Mexico, Inc.                    Ha1Tis County Texas    127             Filed 10/2/2017      Bond assurance

                               New Mexico - State
                               Energy Minerals
                               and natural
State of N cw Mexico OCD v     Resources          OCD case No
Cano Petro of New Mexico       Department         16040                served 2-28-18       Comoliance

                               US District Court
Crossfirst Bank v NBI          for Noi'thern District 18CV
Properties, et al              of Ok                  147TCK-JFJ       Filed 3-16-18        Loan Foreclosure

Al! Lit Up Electric, LLC v. NBI                                      Fi led 3/21/2018
Services                        Osage Co. Ok           CJ-2018-00048 Served 3/23/1 8        Debt Collection




All Lit Up Electric, LLC v.                                          Filed 3/21/2018
Ladder Companies               Osage Co. Ok            CJ-2018-00049 Served 3/23/18         Debt Collection




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    Case Style (Defendant)       Court Venue        Case Number           Date Opened              Claim Exposure



E.B. Archbald & Associates
vs. NOCO Investment aka                                              Fi led 3-26-18
The Nichols Comoaoies         Tulsa Co .. OK       CJ-18*1316        Served 4*5-18                Debt Collection

                                                                                                  OK PRSA Violation
MidFirst Bank, Ttee Lewis                                                                           Jackson claim:
Jackson Trust & Kirkpatrick                                                                           $34,935.33
Foundation v. Pacer Energy                                              Filed: 6/24/16             Kirkpatrick claim:
Markctinl!                      Creek Co .• OK       CJ-2016* 181      Served: 6/30/16                 $7,655.81

William Arrington v WO
Operating                     Carson Co TX                   11993 Filed 10*6*2017                Trespass
                                                                    I&. • ., __   l l .-11 .1 1

Freeman Mills PC v NB!                                              served 2-1- I 8
Services, Inc. and Nichols                                          Filed answer 3-5-
Comoanies, Inc.               Bowie Countv TX      17C 1463* 102    18                Debt Collection




OCC v NBI (Ladder)                Tulsa, OK                            Notice: 4/29/16              Plug or produce
                                                                                                  Plugging costs ptus
                                                                                                    shut-in ofB&N
                                                                        Filed: 4/21/16             Bartlesville Sand
OCC v. NBl Services             Tulsa Div., OK                         Served: 4/25/16                    Unit

                                                                        Filed: 3/1/17                Indebtedness
Mitchell & DeClerck v. NBI     Garfield Co., OK     SC-2017-242        Served: 3/14/17                  $7,089

                                                                                                  Breach of Contract
                                                                                                   $175,169.02 for
                               Johnson Co., KS                                                       unpaid wages
                                 removed to                         Filed: 9/28/15                    $175,-169.02
Verebelvi v. Nichols & Peak     US DCofKS          2: I 5-CV-09456 Served: I 0/6/15                statutory penalty




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                                          Exhibit 2 to Form 207 - Statement of Financial Affairs
                                           Payments Made to Creditors Within Last 90 Days

                                                              Nichols Brothers, Inc.
Creditor's Name                           Creditor's Address                                     Dates         Total Payments     Reasons for Payment or Transfer
ADVANCES DATA SYSTEMS INC.                6817 E. 118TH ST BIXBY, OK 74008                 3/02/18 - 5/24/18   $      15,925.00   materials and services
CAPITAL ONE BANK (USA) N.A.               P.O. BOX 60599 CITY OF INDUSTRY, CA 91716        3/07/18 - 5/24/18   $      11,228.22   credit card
CATHEDRAL DISTRICT OFFICE PORTFOLIO LLC   1401 S. BOULDER AVE. TULSA, OK 74119             3/27/18 - 5/22/18   $      96,912.00   rent
CITIBUSINESS CARD                         P.O. BOX 78045 PHEONIX, AZ 85062                 3/02/18 - 5/22/18   $      51,616.84   credit card
INSURICA                                  406 S. BOULDER AVE., TULSA OK 74103               3/1/18 - 5/31/18   $      38,822.14   insurance
IPFS CORPORATION                          P.O.BOX 412086 KANSAS CITY, MO 64141             3/15/18 - 5/18/18   $      14,658.03   insurance
ROONEY INSURANCE AGENCY INC.              4700 S. GARNETT ROAD SUITE 200 TULSA, OK 74746   3/21/18 - 5/24/18   $      24,551.00   insurance
TOTAL                                                                                                          $    253,713.23
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                                           NICHOLS'S BROTHERS
              EXHIBIT 3 to Statement of Financial Affairs - Payments to Insiders within Last 1 Year

                                                  Relationship                          Total
Insider's Name     Address                        to Debtor      Dates               Payments      Reasons for Payment or Transfer
BURCH, PHIL        P.O.BOX 4470 TULSA, OK 47159   officer        6/13/17 - 8/17/17   $ 6,776.26    expenses
NICHOLS, ORVILLE   P.O.BOX 4470 TULSA, OK 47159   owner          3/13/18 - 5/22/18   $ 22,470.83   repay loan
NICHOLS, RICHARD   P.O.BOX 4470 TULSA, OK 47159   owner          9/21/17 - 5/22/18   $ 35,518.41   repay loan
TOTAL                                                                                $ 64,765.50
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Oklahoma
 In re       Nichols Brothers, Inc.                                                                             Case No.
                                                                                     Debtor(s)                  Chapter     11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                    $                     0.00
             Prior to the filing of this statement I have received                                          $                     0.00
             Balance Due                                                                                    $

2.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):           All attorneys fees and costs have been paid by NBI Services, Inc., an entity
                                                                     related to the Debtor that is also filing for Chapter 11 Bankruptcy
                                                                     contemporaneously with this Petition. For all 7 related entities a total of
                                                                     $148,771.00 has been paid. The firm holds a retainer of $75,000.00 in its Trust
                                                                     Account.

3.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   All matters related to Chapter 11 Bankruptcy, including but not limited to reorganization and/or liquidation.

                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 1, 2018                                                                   /s/ Gary M. McDonald
     Date                                                                           Gary M. McDonald 5960
                                                                                    Signature of Attorney
                                                                                    McDonald | McCann | Metcalf
                                                                                    15 E. Fifth Street, Suite 1400
                                                                                    Tulsa, OK 74103
                                                                                    918.430.3700
                                                                                    gmcdonald@mmmsk.com
                                                                                    Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Northern District of Oklahoma
 In re      Nichols Brothers, Inc.                                                                                    Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Orville Nichols                                                                                                                 50% Ownership Interest
 823 S. Detroit, Suite 300
 Tulsa, OK 74120

 Richard Nichols                                                                                                                 50% Ownership Interest
 823 S. Detroit, Suite 300
 Tulsa, OK 74120


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date June 1, 2018                                                           Signature /s/ Richard Nichols
                                                                                            Richard Nichols

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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Revised 02/2012



                                                               United States Bankruptcy Court
                                                                     Northern District of Oklahoma
 In re      Nichols Brothers, Inc.                                                                         Case No.
                                                                                  Debtor(s)                Chapter    11


                                               VERIFICATION AS TO OFFICIAL CREDITOR LIST

                                                                                   Original
                                                                                   Amendment
                                                                            Add             Delete
        I hereby certify under penalty of perjury that the master mailing list of creditors submitted either on the Creditor
List Submission application, or uploaded to the Electronic Case Filing System is a true, correct and complete listing to the
best of my knowledge.

         I further acknowledge that (1) the accuracy and completeness in preparing the creditor listing are the shared
responsibility of the debtor and the debtor’s attorney, (2) the court will rely on the creditor listing for all mailings, and (3)
that the various schedules and statements required by the Bankruptcy Rules are not used for mailing purposes.

        If this filing is an amendment to the creditor list, indicate only the number of creditors being added or to be
deleted at this time. (For verification purposes, attach a list of the creditors being submitted, uploaded, or to be
deleted.)

               93      # of Creditors (or if amended, # of creditors added)

Method of submission:
       a)    X     uploaded to Electronic Case Filing System; or
       b) _______Creditor List Submission application (to be used by Pro Se filers, found on the Court’s website at
                    www.oknb.uscourts.gov, or available in the Clerk’s Office)
__________# of Creditors (on attached list) to be deleted

 /s/ Richard Nichols
 Debtor Signature                                                             Joint Debtor Signature
 Address:(if not represented by an attorney)                                  Address:(if not represented by an attorney)


 Phone:(if not represented by an attorney)                                    Phone:(if not represented by an attorney)


 /s/ Gary M. McDonald                                                         Date: June 1, 2018
 Attorney Signature
 Gary M. McDonald 5960                                                        [Check if applicable]
 McDonald | McCann | Metcalf                                                     Creditors with foreign addresses included
 15 E. Fifth Street, Suite 1400
 Tulsa, OK 74103-0000
 918.430.3700

 gmcdonald@mmmsk.com




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                      ABRAHAM TIM
                      c/o R. BRENT BLACKSTOCK
                      401 S. Boston Ave
                      Fifth Floor
                      TULSA, OK 74103

                      AFCO
                      DEPT 0809
                      PO BOx 120809
                      DALLAS, TX 75312-0809

                      Alan Martin
                      Savage Baum & Glass Attn: Jason Glass
                      15 E 5th Street
                      Tulsa, OK 74103

                      Alan Martin
                      Cable Law PLLC Attn: Brett D. Cable
                      438 Carl Albert Pkwy
                      McAlester, OK 74501

                      Arena Limited SPV, LLC
                      405 Lexington Ave
                      New York, NY 10174

                      Axis- Spencer Fane LLP
                      Attn: Paul Trimble
                      9400 N Broadway Extension
                      Suite 600
                      Oklahoma City, OK 73114

                      Black Acres c/o Harrison & Mecklenburg,
                      Attn: Travis Cagle
                      P.O. Box 2354
                      Stillwater, OK 74076

                      Bureau of Land Management of New Mexico
                      301 Dinosaur Trail
                      Santa Fe, NM 87508

                      Bureau of Land Management of Oklahoma
                      201 Stephenson Parkway
                      Suite 1200
                      Norman, OK 73072

                      Cano Petro of New Mexico, Inc.
                      P.O. Box 4470
                      Tulsa, OK 74159

                      Carns Curtiss Law, PLLC
                      Attn: Susan Carns Curtis
                      525 Northwest 13th Street
                      Oklahoma City, OK 73103
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                  Chesapeake
                  Attn: Christina Forth
                  P.O. Box 18496
                  Oklahoma City, OK 73154

                  Chrisholm c/o Hall Estill
                  Attn: James Hardwick
                  320 South Boston Ave
                  Suite 200
                  Tulsa, OK 74103

                  Core Resources - McAlister, McAlister, B
                  PO Box 1569
                  Edmond, OK 73083-1569

                  CrossFirst Bank
                  7120 S. Lewis
                  Tulsa, OK 74136

                  CROWE & DUNLEVY
                  321 S. BOSTON, SUITE 500
                  TULSA, OK 74103-3313

                  DISPUTE RESOLUTION CONSULTANTS
                  1602 S MAIN
                  TULSA, OK 74119

                  E.B. ARCHBALD & ASSOC. INC.
                  205 NW 63RD STREET
                  OKLAHOMA CITY, OK 73116

                  FITZGERALD ALEXANDER
                  2141 NORLOCK LAND
                  DALLAS, TX 75201

                  FITZGERALD CLIFFORD & JUANITA
                  7400 AVERDEEN PARKWAY W
                  TULSA, OK 74132

                  FITZGERALD ED
                  29414 E. 160TH ST. S
                  COWETA, OK 74429

                  FITZGERALD, RACHEL
                  2141 NORLOCK LAND
                  DALLAS, TX 75201

                  Freeman Mills PC
                  Attn: Vance Freeman
                  2020 Bill Owens Pkwy
                  Suite 200
                  Longview, TX 75604
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                  Frost Bank
                  Attn: Glenn White/Karl Hirsch
                  901 Cedar Lake Boulevard
                  Oklahoma City, OK 73114

                  GABLE GOTWALS COUNSEL
                  1100ONEOK PLAZA, 100 WEST
                  TULSA, OK 74103-4217

                  Gamma Oil & Gas
                  Attn: Efstathois Giannakopiylos
                  537 N.W. 174th Street
                  Edmond, OK 73102

                  Harrison & Mecklenburg, Inc.
                  Attn: Ralph Harrison; Austin Evans/Jaren
                  P.O. Box 658
                  Kingfisher, OK 73750

                  HARRY DANDELLES
                  2112 E. 60TH STREET
                  TULSA, OK 74105

                  Heritage - GableGotwals
                  Attn: Eric King, Philip Schovaneic, Lewi
                  One Leadership Square
                  15th floor
                  Oklahoma City, OK 73102

                  HIghpointe - Harrison & Mecklenburg, Inc
                  Attn: Michelle Nabors/Austin Evans
                  P.O.Box 658
                  Kingfisher, OK 73750

                  HOGAN TAYLOR LLP
                  PO BOX 1481
                  LOWELL, AR 72745

                  Houts Law PLLC
                  Attn: Mark Houts
                  3847 S Boulevard, Suite 100
                  Edmond, OK 73013

                  Internal Revenue Service
                  P.O. Box 7346
                  Philadelphia, PA 19101-7346

                  JEH Oil & Gas
                  Attn: James E Hall
                  6605 South Hwy 349
                  Midland, TX 79706

                  Kirkpatrick Bank
                  222 NW 63rd Street
                  Oklahoma City, OK 73116
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                  Ladder Companies, Inc.
                  P.O. Box 4470
                  Tulsa, OK 74159

                  LATHROP & GAGE LLP
                  2345 GRAND BOULEVARD
                  KANSAS CITY, MI 64108-2618

                  Law Office of Raymond B. Roush
                  525 Northwest 13th Street
                  Oklahoma City, OK 73103

                  Lee, Goodwin, Lee, Lewis & Dobson
                  Attn: Jon Lee
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                  Suite 1
                  Edmond, OK 73034

                  LIKES MERRILL
                  PO BOX 2696
                  EDMOND, OK 73083

                  Marathon - Elias
                  Attn: L. Vance Brown
                  Two Leadership Square
                  Suite 1300
                  Oklahoma City, OK 73102

                  Marathon - Elias, Books, Brown & Nelson
                  Attn: L. Vance Brown/Jay Dodson
                  Two Leadership Square
                  Suite 1300
                  Oklahoma City, OK 73102

                  MARTIN ALAN
                  c/o Jason Glass
                  401 S. Boston Ave, Suite 2300
                  TULSA, OK 74103

                  McAlister, McAlister, Baker & Nicklas
                  Attn: Brandon Baker/Ryan Jones
                  P.O. Box 1569
                  Edmond, OK 73083

                  Merril Likes
                  Rubenstein & Pitts, PLLC Attn: Craig Pit
                  1503 E 19th Street
                  Edmond, OK 73013

                  MIDFIRST BANK, TRUSTEE OF TH
                  3847 S BOULEVARD SUITE 100
                  EDMOND, OK 73013
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                  MJRSR
                  Attn: Merrill J. Reynolds, Jr.
                  258 Winterberry Cove
                  New Braunfels, TX 78132

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                  P.O. Box 4470
                  Tulsa, OK 74159

                  NBI Services, Inc.
                  P.O. Box 4470
                  Tulsa, OK 74159

                  Newfield - Mahaffey & Gore
                  Attn: Travis Brown
                  300 N.E. 1st St.
                  Oklahoma City, OK 73104

                  Newfield - Mahaffey & Gore, P.C.
                  Attn: Travis Brown, Brady Smith, Lincoln
                  300 N.E. 1st St.
                  Oklahoma City, OK 73104

                  Newfield - Mahaffey & Gore, P.C.
                  Attn: Travis Brown
                  300 N.E. 1st St.
                  Oklahoma City, OK 73102

                  Office of the Attorney General
                  State of Texas
                  PO Box 12548
                  Austin, TX 78711-2548

                  Office of the Attorney General
                  State of Oklahoma
                  313 NE 21st Street
                  Oklahoma City, OK 73105

                  Office of the Attorney General
                  State of New Mexico
                  408 Galisteo Street
                  Santa Fe, NM 87501

                  Oil Conservation Division of NN
                  1220 S St Francis Dr.
                  #3
                  Santa Fe, NM 87505

                  OK Dept. of Environmental Quality
                  P.O. Box 1677
                  Oklahoma City, OK 73101-1677

                  Oklahoma Corporation Commission
                  P.O. Box 52000
                  Oklahoma City, OK 73152-2000
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                  OKLAHOMA STATE UNIVERSITY
                  215 BUSINESS BUILDING
                  STILLWATER, OK 74078-4014

                  Oklahoma Tax Commission
                  General Counsel's Office
                  100 N Broadway Ave, Suite 1500
                  Oklahoma City, OK 73102-8601

                  Orville B. Nichols
                  823 S. Detroit, Suite 300
                  Tulsa, OK 74120

                  Owen Major c/o Harrison & Mecklenburg, I
                  Attn: Randy Mecklenburg
                  P.O. Box 658
                  Kingfisher, OK 73750

                  POPE TERESA
                  10931 S. 86TH AVE.
                  TULSA, OK 74133

                  Railroad Commission of Texas
                  P.O. Box 12967
                  Austin, TX 78711-2967

                  Raydon - Andrews Davis, P.C.
                  Attn: Bradley Davenport
                  100 N Broadway
                  Suite 3300
                  Oklahoma City, OK 73120

                  Raydon - Schulte, Schneiter & Gibson,P.L
                  Attn: Lane Schneiter
                  302 N Main Street
                  Kingfisher, OK 73750

                  Red Water Resources, Inc.
                  P.O. Box 4470
                  Tulsa, OK 74159

                  Richard J. Nichols
                  823 S. Detroit, Suite 300
                  Tulsa, OK 74120

                  Robert Lorance
                  Siebman Burg, Phillips & Smith (C. Siebm
                  300 N Travis Street
                  Sherman, TX 75090

                  Rumble - McAfee & Taft
                  Attn: Timonth Bomhoff; Laura Long; Nicho
                  Two Leadership Square
                  10th floor
                  Oklahoma City, OK 73102
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                  Rumble c/o McAfee & Taft
                  Attn: Nicholas Coffey
                  Two Leadership Square
                  10th floor
                  Oklahoma City, OK 73102

                  Rumble c/o McAfee & Taft
                  Attn: Timonth Bomhoff/Laura Long/Riane F
                  Two Leadership Square
                  10th floor
                  Oklahoma City, OK 73102

                  Teton - Needham & Associates, LLC
                  Attn: Amy Wilson
                  410 N. Walnut Ave.
                  Suite 110
                  Oklahoma City, OK 73104

                  Texas General Land Office
                  P.O. Box 12873
                  Austin, TX 78711-2873

                  Tim Abraham
                  Brent Blackstock Attn: Brent Blackstock
                  6520 S Lewis Ave
                  Tulsa, OK 74136

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                  Attn: Emily Smith/Austin Keeney
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                  Suite 1400
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                  DALLAS, TX 75206

                  US Specialty Insurance Company
                  Weinsten Radcliff Pipkin (R. Radcliff)
                  901 Main Street
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                  Dallas, TX 75202

                  Valley National Bank
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                  Tulsa, OK 74114

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                  WillisChild Oil & Gas
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                  Snyder, OK 73566

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                                                               United States Bankruptcy Court
                                                                     Northern District of Oklahoma
 In re      Nichols Brothers, Inc.                                                                          Case No.
                                                                                    Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Nichols Brothers, Inc. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 June 1, 2018                                                          /s/ Gary M. McDonald
 Date                                                                  Gary M. McDonald 5960
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Nichols Brothers, Inc.
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